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17                                 UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                     SAN FRANCISCO DIVISION
20
   MAXIMILIAN KLEIN, et al., on behalf of             Case No. 3:20-cv-08570-JD
21 themselves and all others similarly situated,
                                                      ADVERTISER PLAINTIFFS’
22                  Plaintiffs,                       OPPOSITION TO DEFENDANT’S
                                                      MOTION TO EXCLUDE EXPERT
23          v.                                        TESTIMONY AND OPINIONS OF DR.
                                                      MICHAEL WILLIAMS
24 META PLATFORMS, INC.,

25                  Defendant.
                                                      Hearing Date: To Be Determined
26                                                    Hearing Time: To Be Determined
                                                      Courtroom 11, 19th Floor
27                                                    Judge: The Honorable James Donato
28
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 1                                          INTRODUCTION

 2          Despite this Court instructing Defendant Meta Platforms, Inc. (“Meta” f/k/a “Facebook”) to

 3 “exercise some discretion” in challenging Advertiser Plaintiffs’ experts1, Meta yet again seeks to

 4 exclude the report and testimony of Advertiser Plaintiffs’ expert, Dr. Michael A. Williams. It offers

 5 nothing in this latest motion that has not already been argued, and Dr. Williams remains a respected

 6 Ph.D. economist specializing in antitrust, industrial organization, and regulation who has testified

 7 numerous times.2 Dr. Williams offers opinions on the relevant market, Meta’s monopoly power, the

 8 common impact of Meta’s anticompetitive conduct, and damages. ¶¶18-24.
 9          As to damages, Dr. Williams derived “yardstick” damages—a reliable overcharge
10 methodology recognized in antitrust economics and industrial organization—

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25       Nov. 14, 2024 Hrg. Tr. (ECF No. 856) at 33:3-7.
     2
       See Expert Merits Report of Michael A. Williams, Ph.D., dated August 5, 2024 (“Williams Merits
26
   Report”), attached as Exhibit 1 to the Declaration of Dr. Michael A. Williams (“Williams Decl.”),
27 filed contemporaneously herewith, at ¶¶1-4. Hereinafter, all citations to “¶” or “¶¶” are to the
   Williams Merits Report unless specified otherwise. Citations are omitted and emphasis is added
28 throughout unless otherwise noted.
                                                     1
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 7          Under the guise of the Daubert standard, Meta’s lawyers seek to exclude Dr. Williams’s

 8 damages testimony based predominately on narrowly excerpted deposition testimony. Meta’s brief
 9 makes various spurious arguments as to why Dr. Williams’s methods are somehow junk science. Not

10 only does virtually every argument go to the weight and not the admissibility of Dr. Williams’s

11 opinions, but none of these arguments hold water.               Instead, each betrays Meta’s deep
12 misunderstanding and misappreciation of what Dr. Williams actually did. After nit-picking at Dr.

13 Williams’s yardstick analysis, Meta then lobs several unsuccessful attacks at his market definition. 3

14          Despite Meta’s broad declarations to the contrary, nothing in Dr. Williams’s report resembles

15 “predicting criminality by feeling the bumps on a person’s head.” Mot. at 1. Meta does not and

16 cannot dispute that the yardstick framework is an accepted and reliable measure of antitrust damages.

17 Meta merely quibbles with which “bumps on a person’s head” should be counted. “Dauberts are not

18 a substitute for the adversarial process.” Nov. 14, 2024 Hrg. Tr. at 33:7-9. Whatever the probative

19 value of Meta’s “gotcha” arguments, the appropriate audience is the finder of fact. Dr. Williams’s

20 opinions are not “junk science,” and all of Meta’s arguments are easily dismissed under the Daubert

21 standard.

22                                         LEGAL STANDARD

23          Under Federal Rule of Evidence 702, an expert witness’s testimony is admissible if the

24 “testimony both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell

25 Dow Pharms., Inc., 509 U.S. 579, 597 (1993). “‘Expert opinion testimony is relevant if the

26 knowledge underlying it has a valid connection to the pertinent inquiry. And it is reliable if the

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28   3
         None of Defendant’s challenges pertain to whether the alleged conduct caused common impact.
                                                      2
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 1 for-litigation alternative[].”34

 2                                                                                                If Meta

 3 can profitably impose a SSNIP as demonstrated by their overcharges above but-for prices, then a

 4 hypothetical monopolist would find it profitable to undertake a SSNIP as well. And this natural

 5 experiment approach has been widely applied and accepted in antitrust litigation. For example, in In

 6 re: Turkey Antitrust Litigation, the court found that Dr. Williams demonstrated a relevant product

 7 market based on evidence demonstrating that the alleged cartel could impose a SSNIP. 35 As in the

 8 present case, Dr. Williams’s SSNIP test was based on estimated overcharges as a result of Defendants’
 9 alleged anticompetitive conduct. Similarly, Dr. Williams applied the same natural experiment

10 approach in his SSNIP test in Behrend v. Comcast and the court concluded that his market definition

11 was susceptible to proof at trial.36 Again, there, Dr. Williams opined that certain rate increases were

12 more than a SSNIP and that a hypothetical monopolist would profitably impose a SSNIP. Thus, Dr.

13 Williams’s SSNIP test follows the standard natural experiment approach in applying the SSNIP test.37

14                                            CONCLUSION

15           For the foregoing reasons, the Court should deny Meta’s Motion.

16 Dated: January 29, 2025.

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21           Id.
     35
22          In re: Turkey Antitrust Litigation, No. 1:19-CV-08318, Order (N.D. Ill. Jan. 22, 2025) (ECF
     No. 1107), at 61 (Judge Sunil R. Harjani).
23   36
           Behrend v. Comcast, No. 2:03-cv-06604, Order (E.D. Pa. Jan. 7, 2010) (ECF No. 430), at 15
   and 29-30. The court’s decision was upheld by the U.S. Court of Appeals for the Third Circuit, No.
24
   10-2865 (Aug. 23, 2011).
25 37      Meta’s cites to Sumotext and Kentucky Speedway are inapt. Unlike Sumotext, Dr. Williams
   did not “‘compar[e], over time, prices of’ the defendant’s product to prices for three expert-selected
26
   comparator products.” He compared Meta’s actual and but-for prices based on the well-accepted
27 yardstick model. Unlike Kentucky Speedway, Dr. Williams’s SSNIP test was not his “‘own version
   of the SSNIP test,’ which ‘was produced solely for th[e] litigation,’” but follows the standard natural
28 experiment approach.
                                                      15
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 3

 4
     Dated: January 29, 2025                      By:  /s/Amanda F. Lawrence
 5                                                  Amanda F. Lawrence
 6

 7                                     CERTIFICATE OF SERVICE
 8          I hereby certify that on January 29, 2025, I caused a true and correct copy of the foregoing
 9 document to be served by electronic mail on all counsel of record.

10

11 Dated: January 29, 2025                        By:  /s/Amanda F. Lawrence
                                                    Amanda F. Lawrence
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